                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )       Criminal No. 3:12-00170
                                                      )       Judge Trauger
[3] ELICIO FUERTE-BARRIGA                             )
                                                      )

                                             ORDER

         A status conference was held in this case on September 27, 2013. Richard J. Sullivan,

counsel of record for this defendant, appeared with the defendant for the status hearing. The

court questioned the defendant in open court as to whether or not he wished Mr. Sullivan to

continue as his counsel of record. The defendant unequivocably stated that he wished Mr.

Sullivan to continue as his lawyer. Therefore, any request contained within the letter received at

the court from James A. Fraser, an attorney in Orange, California requesting that a federal public

defender be appointed for this defendant, is DENIED.

         The Clerk shall mail a copy of this Order to James A. Fraser at his business address listed

on the letter sent to the court.

         It is so ORDERED.

         ENTER this 27th day of September 2013.



                                                      ________________________________
                                                            ALETA A. TRAUGER
                                                              U.S. District Judge




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